
990 So.2d 18 (2008)
In re Mazen Younes ABDALLAH.
No. 2008-B-2018.
Supreme Court of Louisiana.
September 9, 2008.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Mazen Younes Abdallah, Louisiana Bar Roll number 29059, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
